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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
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     (Admitted pro hac vice)
     PROPOSED ATTORNEYS FOR DEBTOR
     In re:                                                          Chapter 11
     LTL MANAGEMENT LLC, 1                                           Case No.: 23-12825 (MBK)
                                 Debtor.                             Judge: Michael B. Kaplan
     LTL MANAGEMENT LLC,
                                 Plaintiff,
                                                                     Adv. No.: 23-01092 (MBK)
     v.

     THOSE PARTIES LISTED ON APPENDIX A TO
     COMPLAINT and JOHN AND JANE DOES 1-1000,
                                 Defendants.


                        NOTICE OF AMENDED 2 AGENDA OF MATTERS
                   SCHEDULED FOR HEARING ON APRIL 18, 2023 AT 10:00 A.M.

                             Parties are directed to https://www.njb.uscourts.gov/LTL
                           for appearing via Zoom or in-person, or observing via Zoom

 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.
 2
              Amended agenda items appear in bold.


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 CONTESTED MATTER GOING FORWARD IN THE BASE CASE:

 1.      Memorandum of Law in Support of Motion by Movant Anthony Hernandez Valadez for
         an Order (I) Granting Relief From the Automatic Stay, Second Amended Ex Parte
         Temporary Restraining Order, and Anticipated Preliminary Injunction, and (II) Waiving
         the Fourteen Day Stay Under Federal Rule of Bankruptcy Procedure 4001(a)(3) [Dkt. 71]
         (the “Valadez Motion”).

         Status: The Court heard argument on this matter at the April 11, 2023 hearing and
         continued the hearing on this matter to April 18, 2023.

         Objection Deadline: At hearing, pursuant to the Order Shortening Time Period for
         Notice, Setting Hearing and Limiting Notice.

         Related Documents:

         A.       Application for Order Shortening Time [Dkt. 72].

         B.       Order Shortening Time Period for Notice, Setting Hearing and Limiting Notice
                  [Dkt. 75].

         C.       Reply in Support of the Valadez Motion [Dkt. 206].

         Objection:

         D.       Debtor’s Objection to the Valadez Motion [Dkt. 208].

 CONTESTED MATTERS GOING FORWARD IN THE ADVERSARY PROCEEDING:

 2.      Debtor’s Motion for an Order (I) Declaring that the Automatic Stay Applies or Extends to
         Certain Actions Against Non Debtors or (II) Preliminarily Enjoining Such Actions and
         (III) Granting a Temporary Restraining Order Ex Parte Pending a Hearing On a
         Preliminary Injunction [Adv. Dkt. 2] (the “Injunction Motion”).

         Status: This matter is going forward.

         Related Documents:

         A.       Declaration of John K. Kim in Support of First Day Pleadings [Dkt. 4] (the “First
                  Day Declaration”).

         B.       Debtor’s Verified Complaint for Declaratory and Injunctive Relief (I) Declaring
                  That the Automatic Stay Applies or Extends to Certain Actions Against
                  Non-Debtors, (II) Preliminarily Enjoining Such Actions, and (III) Granting a
                  Temporary Restraining Order Ex Parte Pending a Hearing On a Preliminary
                  Injunction [Adv. Dkt. 1] (the “Complaint”).

         C.       Exhibit A, Proposed Preliminary Injunction Order [Adv. Dkt. 3] (the “Proposed
                  Preliminary Injunction Order”).
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         D.       Exhibit B, Proposed Ex Parte Temporary Restraining Order [Adv. Dkt. 4]
                  (the “Proposed Ex Parte Temporary Restraining Order”).

         E.       Declaration of Daniel J. Merrett in Support of Debtor’s Complaint for Injunctive
                  Relief and Related Motion [Adv. Dkt. 5] (the “Merrett Declaration”).

         F.       Debtor’s Motion for Approval of Service Procedures for Summons, Complaint,
                  and Other Pleadings [Adv. Dkt. 6] (the “Service Procedures Motion”).

         G.       Supplemental Declaration of Daniel J. Merrett in Support of Debtor’s Complaint
                  for Injunctive Relief and Related Motion [Adv. Dkt. 7] (the “Supplemental
                  Merrett Declaration”).

         H.       Ex Parte Temporary Restraining Order [Adv. Dkt. 9] (the “Ex Parte Temporary
                  Restraining Order”).

         I.       Summons and Notice of Pretrial Conference in an Adversary Proceeding [Adv.
                  Dkt. 10] (the “Summons”).

         J.       Debtor’s Motion for Entry of an Order Authorizing the Filing Under Seal of
                  Certain Confidential Exhibits Related to the Debtor’s Complaint for Injunctive
                  Relief and Related Motion [Adv. Dkt. 11] (the “Debtor’s Motion to Seal”).

         K.       Debtor’s Letter to the Court Regarding the Ex Parte Temporary Restraining
                  Order, dated April 5, 2023 [Adv. Dkt. 14] (the “April 5, 2023 Letter”).

         L.       Amended Ex Parte Temporary Restraining Order [Adv. Dkt. 15] (the “First
                  Amended Ex Parte Temporary Restraining Order”).

         M.       Second Amended Ex Parte Temporary Restraining Order [Adv. Dkt. 16]
                  (the “Second Amended Ex Parte Temporary Restraining Order”).

         N.       Debtor’s Letter to the Court Regarding the Second Amended Ex Parte Temporary
                  Restraining Order, dated April 7, 2023 [Adv. Dkt. 17] (the “April 7, 2023
                  Letter”).

         O.       Third Amended Ex Parte Temporary Restraining Order [Adv. Dkt. 20]
                  (the “Third Amended Ex Parte Temporary Restraining Order”).

         P.       The Official Committee of Talc Claimants’ Motion to Seal the Redacted
                  Portions of the Committee Objection [Adv. Dkt. 42] (the “Committee’s
                  Motion to Seal”).

         Q.       The Official Committee of Talc Claimants’ Motion to Intervene in
                  Preliminary Injunction Adversary Proceeding [Adv. Dkt. 47]
                  (the Committee’s Motion to Intervene”).



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         R.       Debtor’s Notice of Filing of Supplemented Appendices to the Complaint and
                  the Injunction Motion [Adv. Dkt. 55] (the “Supplemented Appendices”).

         Objections:

         S.       Objection of Arnold & Itkin LLP to the Injunction Motion [Adv. Dkt. 37].

         T.       Objection of the United States Trustee to the Injunction Motion [Adv.
                  Dkt. 38].

         U.       Objection of the Official Committee of Talc Claimants to the Injunction
                  Motion [Adv. Dkts. 39, 50] (together, the “Committee Objection”).

         V.       Claimant Kristie Lynn Doyle’s Opposition to the Injunction Motion [Adv.
                  Dkt. 43].

         W.       Claimant Trevor Barkley’s Opposition to the Injunction Motion [Adv.
                  Dkt. 46].

         X.       Claimant Alison Daugherty’s Opposition to the Injunction Motion [Adv.
                  Dkt. 51].

         Y.       Claimant Marlin Lewis Eagles’ Opposition to the Injunction Motion [Adv.
                  Dkt. 53].

         Z.       Claimant Susan Jean Bader’s Opposition to the Injunction Motion [Adv.
                  Dkt. 54].

         AA.      Claimant Dean McElroy’s Opposition to the Injunction Motion [Adv.
                  Dkt. 56].

         BB.      Joinder of Paul Crouch, Individually and as Executor and as Executor Ad
                  Prosequendum of the Estate of Cynthia Lorraine Crouch to the Committee,
                  Maune, Raichle, Hartley, French & Mudd, LLC, and the United States
                  Trustee’s Objections [Adv. Dkt. 57].

         CC.      Joinder of Evan Plotkin to Committee’s Objection [Adv. Dkt. 58].

 3.      The Debtor’s Motion to Seal.

         Status: This matter is going forward.

         Objection Deadline: At hearing, pursuant to the Order Shortening Time Period for
         Notice, Setting Hearing and Limiting Notice.




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         Related Documents:

         A.       The Complaint.

         B.       The Injunction Motion.

         C.       The Merrett Declaration.

         D.       Application for Order Shortening Time [Adv. Dkt. 12].

         E.       Order Shortening Time Period for Notice, Setting Hearing and Limiting Notice
                  [Adv. Dkt. 13].

         Objections:

         F.       The Ad Hoc Committee of Certain Talc Claimants’ Objection to the Motion to
                  Seal [Adv. Dkt. 27].

 4.      The Committee’s Motion to Seal.

         Status: This matter is going forward.

         Objection Deadline: At hearing, pursuant to the Order Shortening Time Period for
         Notice, Setting Hearing and Limiting Notice.

         Related Documents:

         A.       The Committee Objection.

         B.       Application for Order Shortening Time [Adv. Dkt. 44].

         C.       Order Shortening Time Period for Notice, Setting Hearing and Limiting
                  Notice [Adv. Dkt. 45].

 5.      The Committee’s Motion to Intervene.

         Status: This matter is going forward.

         Objection Deadline: At hearing, pursuant to the Order Shortening Time Period for
         Notice, Setting Hearing and Limiting Notice.

         Related Documents:

         A.       The Committee Motion.

         B.       Application for Order Shortening Time [Adv. Dkt. 48].

         C.       Order Shortening Time Period for Notice, Setting Hearing and Limiting
                  Notice [Adv. Dkt. 49].

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 UNCONTESTED MATTER GOING FORWARD

 6.      The Service Procedures Motion.

         Status: This matter is going forward.

         Related Documents:

         A.       The Injunction Motion.

         B.       The First Day Declaration.

         C.       The Complaint.

         D.       The Proposed Preliminary Injunction Order.

         E.       The Proposed Ex Parte Temporary Restraining Order.

         F.       The Merrett Declaration.

         G.       The Supplemental Merrett Declaration.

         H.       The Ex Parte Temporary Restraining Order.

         I.       The Summons.

         J.       The Motion to Seal.

         K.       The April 5, 2023 Letter.

         L.       The First Amended Ex Parte Temporary Restraining Order.

         M.       The Second Amended Ex Parte Temporary Restraining Order.

         N.       The April 7, 2023 Letter.

         O.       The Third Amended Ex Parte Temporary Restraining Order.

         P.       The Supplemented Appendices.




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  Dated: April 17, 2023                         WOLLMUTH MAHER & DEUTSCH LLP

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